                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

          v.                                       Case No. 18-00293-02-CR-W-DGK

 TREVOR SCOTT SPARKS, (02),

                               Defendant.

          GOVERNMENT’S RESPONSE TO DEFENDANT SPARKS’S
     MOTION IN LIMINE TO EXCLUDE EVIDENCE OF UNCHARGED CRIMES

       The United States of America by the undersigned counsel hereby files its response to

Defendant Sparks’s Motion in Limine to Exclude Evidence of Uncharged Crimes.

       Although Defendant Sparks’s motion in limine only discusses the torture and murder of

James Hampton and the murder of Brittanie Broyles, the Government will address additional acts

of violence committed by Defendants Sparks, Ginnings, and Patterson that were undertaken during

and as a part of the charged drug conspiracy for purposes of its response to Defendant Sparks’s

motion.

                              Summary of Anticipated Evidence

       The Government anticipates the following evidence being introduced, primarily through

eyewitness testimony, regarding acts of violence that were committed by Defendant Sparks and

other co-conspirators during and in furtherance of the charged conspiracy.

       I.      Defendant Sparks’s acts of violence in order to protect his drug residence.

       On June 2, 2018, Kansas City, Missouri police officers were dispatched to the area of

Defendant Sparks’s residence at 5501 Smart Avenue on a reported weapon disturbance. They

contacted the victims who stated that they were fixing a flat tire outside of Defendant’s Sparks’s



          Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 1 of 8
residence when Sparks arrived in a BMW. Defendant Sparks then got into an argument with the

victims and punched one in the face three times. Then another co-conspirator (a cooperating

witness prepared to testify at trial) exited Sparks’s residence and handed Sparks a semi-automatic

handgun that he then pointed at the victims. One of the victims identified Sparks and noted he had

a gold grill on his bottom teeth. 1 Also, at some time in 2018, Mitzi Fonville stole items from the

front porch of Sparks’s residence. Sparks and a co-conspirator subsequently located Mitzi Fonville

at another co-conspirator’s residence and proceeded to assault and strike Mitzi Fonville for stealing

items from Sparks’s front porch.

       Additional cooperating witnesses will identify 5501 Smart Avenue as Sparks’s residence

where he conducted his drug business. They will further testify that, in order to protect his drug

distribution, Sparks was protective of this residence and was suspicious of unknown people and

vehicles near the residence.

       II.     Violence related to co-defendant McCrorey’s theft of drug funds.

       In May 2018, co-defendant Marion Douglas McCrorey stole approximately $35,000 of

Defendant Sparks’s money that McCrorey was supposed to use to purchase 10 kilograms of

methamphetamine to deliver to Sparks. Russell McGinnis introduced McCrorey to Sparks, and as

a result of McCrorey’s theft, Sparks kept McGinnis held captive in his residence at 5501 Smart

Avenue and beat McGinnis in an attempt to locate and recover the stolen money.




       1
        Additionally, the Government anticipates testimony related to a search of Defendant
Sparks’s residence where a gold grill was observed on a nightstand next to several firearms.
                                                 2

           Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 2 of 8
       Furthermore, Defendant Sparks and other co-conspirators went to McCrorey’s house and

held the occupants, McCrorey’s wife and children and two other females, at gunpoint while

searching for the missing money. Sparks then threatened to kill McCrorey’s wife and children if

his money was not recovered.

       III.    Assault of Jennifer Wesson regarding suspected cooperation with law
               enforcement investigation into Defendant Sparks’s drug trafficking.

       In approximately July 2018, Jennifer Wesson and co-Defendant Gloria Jones gambled and

lost drug proceeds that were owed to Sparks at a casino in the St. Louis area. When they arrived

back in Kansas City and returned to Sparks’s residence, Jones informed Sparks and Ginnings that

Wesson was an informant. Ginnings strangled her with an electric cord and tied her to a bar stool

with an extension cord, and Sparks held a gun to her head and interrogated her about being an

informant to the federal government reporting on their drug distribution.

       IV.     Beating and murder of Richard Hampton and murder of Brittanie Broyles
               arising out of the theft of drugs and drug proceeds.

       In July 2018, co-defendant David Richards was working in St. Louis as directed by Sparks

to supervise the drug distribution of co-defendants Mainieri, Thurmond, and Schroeder. In late

July/early August 2018, Richards stole approximately $27,000, a Chrysler 300, and

methamphetamine that belonged to Sparks from the St. Louis residence. Sparks, along with other

co-conspirators then drove to St. Louis in an attempt to locate Richards and recover the stolen

money. Thurmond then reached out to James Hampton, and Hampton indicated he could help

locate Richards. Hampton and Brittanie Broyles arrived at the St. Louis residence. Sparks,

Richards, Broyles, and Thurmond then drove around St. Louis in an attempt to locate Richards but




                                                3

         Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 3 of 8
were unsuccessful. Upon return to the St. Louis residence, Sparks, Patterson and other co-

conspirators tied up and beat Hampton with fists, brass knuckles, a BB gun, and pots and pans.

Sparks also used a drill on Hampton.

       Sparks and a co-conspirator then left the residence and contacted co-defendant Kenneth

McClure, who was a customer of Sparks that also owned a flatbed tow truck. Sparks offered

McClure four ounces of methamphetamine and forgiveness of a pre-existing drug debt in exchange

for the use of the tow truck. McClure agreed and provided the tow truck to Sparks who then

returned to the St. Louis residence. Hampton was placed in the trunk of a Dodge Challenger that

was then loaded onto the flatbed tow truck. Sparks and other co-conspirators then drove the

Challenger back to the Kansas City area.

       On August 6, 2018, Lafayette County Sheriff’s Department recovered the Challenger in

rural Bates City, Missouri, on fire with Hampton’s skeletal remains in the trunk. Witnesses near

the scene immediately prior to the arson reported seeing the Dodge Challenger being driven by

Ginnings and a vehicle following Ginnings being driven by Patterson. Multiple witnesses reported

a smell of “dead animal” emitting from the vehicle. One witness reported the driver of the Dodge

Challenger with his T-shirt pulled up over his nose and mouth.

       After returning to Kansas City, Britannie Broyles was held captive at the direction of

Sparks in various motels and Sparks’s residence. When Broyles was last seen alive, she was seen

leaving with Ginnings and Patterson. On August 8, 2018, Broyles body was discovered with two

gunshot wounds at 6801 St. John Avenue. Sparks told other co-conspirators that he had Broyles

killed because she knew too much about the beating and murder of Hampton.




                                               4

        Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 4 of 8
                                             Argument

       The above-described acts of violence are admissible evidence against Defendants Sparks,

Ginnings, and Patterson under established Eighth Circuit caselaw. In a case originating out of this

District, the Eighth Circuit has previously addressed similar evidence in United States v. Montano,

506 F.3d 1128 (8th Cir. 2007). In Montano, the District Court admitted evidence relating to a

murder that occurred in order to recoup $240,000 of stolen drug proceeds. The Eighth Circuit

noted the murder was an act to control subordinates. Montano, 506 F.3d at 1132. The Court

further found the “murder was committed by members of the conspiracy to further the conspiracy

by demonstrating the lengths to which the conspirators would go to protect their drug dealing

interests. The murder also was an attempt by the conspiracy to collect the conspiracy’s stolen

money.” Id. Furthermore, the Court noted under Pinkerton liability, an “overt act of one

conspirator in a conspiracy is attributable to all conspirators.” Id.

       The Eighth Circuit also addressed this issue in United States v. Dierling, 131 F.3d 722 (8th

Cir. 1997). The relevant facts of the case were summarized as follows:

       Dierling and Younger killed Craig, a coconspirator, over a drug debt he owed
       Dierling. Craig was a heavy methamphetamine user, and he participated in the
       conspiracy's manufacturing operations, packaged methamphetamine for sale, and
       dealt drugs for Dierling. In late May or early June of 1995, Craig took a weekend
       trip for the purpose of selling drugs, but used them himself instead. Craig later told
       government witness Candy True that Dierling was upset with him and that he owed
       Dierling drugs and money. Michelle Crawford testified that soon thereafter Perkins
       and Holt administered a severe beating to Craig, explaining to him that “Brian said
       you shouldn’t have did what you did.” Dierling 131 F.3d at 729-730.

The Dierling Court found that evidence related to the murder was admissible because the death

directly resulted from a drug debt, and it was an act by the conspiracy leaders to control subordinate

members. Id. at 730-731. It further showed “the lengths the conspirators would go to protect their




                                                  5

         Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 5 of 8
interest in the long-term viability of the conspiracy.” Id. at 731. Furthermore, it “demonstrated

concerted drug-related action by all conspirators.” Id.

       The facts in this case are eerily similar to both Montano and Dierling. Hampton and

Broyles were murdered by conspiracy members during an attempt to locate stolen drug funds and

punish those believed responsible for stealing drugs and money. The murder also demonstrated

the lengths to which Defendant Sparks went to protect his interests, especially in light of the

beating of McGinnis, the threatening of McCrorey and his family, and the beating of Jennifer

Wesson. Furthermore, Defendant Sparks promised methamphetamine and forgiveness of a drug

debt to McClure in order to use the tow truck to complete the murder of Hampton. These acts of

violence are intrinsically intertwined with the charged conspiracy. In Montaro, the Court noted

that evidence of the murder “probably is highly prejudicial, but the evidence is not unfairly

prejudicial.” Montano, 506 F.3d 1132. The same analysis applies in this case; the evidence is

directly relevant to the charged conspiracy and admissible at trial.

       In addition, despite Defendant Sparks’s claims in his motion, the murder of Hampton and

Broyles is in fact evidence of charged conduct. Defendant Sparks is charged in Count Three of

the Third Superseding Indictment with continuing criminal enterprise. One of the elements the

Government must prove at trial is Defendant Sparks was an organizer, supervisor or manager of

at least those five others, and furthermore, the Government must also prove Defendant Sparks was

the principal administrator, organizer, or leader of the criminal enterprise to support a mandatory

life sentence. See 8th Circuit Jury Instruction No. 6.21.848A; 21 U.S.C. § 848(b)(1). In Dierling,

the district court addressed whether Dielrling was a leader or organizer of a conspiracy involving

five or more people for purposes of the sentencing guidelines. The district court found that

evidence “that it was Dierling’s idea to kill Danny Craig, that he put out a contract on his life, and



                                                  6

         Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 6 of 8
that he induced others to beat Craig” was relevant to whether Dierling was a leader or organizer

of a conspiracy involving five or more people for purposes of the sentencing guidelines. Dierling,

131 F.3d at 722. Although Dierling deals with a different legal premises, the analysis is the same

under § 848(b)(1). Defendant Sparks role in participating in the torture of Hampton, directing

others to murder Hampton, and specifically directing Defendants Ginnings and Patterson to murder

Broyles is directly relevant to an element of a charged crime.

       Therefore, the above-described acts of violence committed by Defendant Sparks, Ginnings,

Patterson, and other co-conspirators are direct evidence of the conspiracy and were taken in

furtherance of the conspiracy. They further show the relationships between the various co-

conspirators, including Defendants Sparks, Ginnings, and Patterson. Additionally, Defendant

Sparks’s action in directing others to commit acts of violence in furtherance of the drug conspiracy

is directly relevant to an element of the charged continuing criminal enterprise. Defendant

Sparks’s motion should, therefore, be denied.

                                                     Respectfully submitted,

                                                     Teresa A. Moore
                                                     United States Attorney

                                                 By /s/Bruce Rhoades

                                                     Bruce Rhoades (AR88156)
                                                     Assistant United States Attorney
                                                     Violent Crime & Drug Trafficking Unit
                                                     Charles Evans Whittaker Courthouse
                                                     400 East Ninth Street, Suite 5510
                                                     Kansas City, Missouri 64106
                                                     Telephone: (816) 426-3122




                                                 7

         Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 7 of 8
                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on October 18,
2022, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                                    /s/Bruce Rhoades
                                                    Bruce Rhoades
                                                    Assistant United States Attorney




                                               8

        Case 4:18-cr-00293-DGK Document 701 Filed 10/18/22 Page 8 of 8
